                       Case 1:22-sw-00179-ZMF Document 1 Filed 06/14/22 Page 1 of 11
 AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                            DistrictDistrict
                                                       __________    of Columbia
                                                                             of __________

               In the Matter of the Search of                                  )
          (Briefly describe the property to be searched                        )
           or identify the person by name and address)                         )             Case No. 22-SW-179
             the person of BENJAMIN GABRINSKI,                                 )
                                                                               )
               also known as "Benjamin Grabinski," W/M,
                                                                               )
               DOB: 6/29/1990, PDID: 756-908


     APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
         I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
 property to be searched and give its location):
  BENJAMIN GABRINSKI, also known as "Benjamin Grabinski," White/Male, DOB: 6/29/1990, PDID: 756-908, who is
presently at. D.C. Jail.
   located in the                District of             Columbia           , there is now concealed (identify the
  person or describe the property to be seized):
   a saliva sample from the defendant's mouth.

         The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                ✔evidence of a crime;
                ’
                      contraband, fruits of crime, or other items illegally possessed;
                     property designed for use, intended for use, or used in committing a crime;
                     a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:
              Code Section                                                                   Offense Description
         18 U.S.C. § 970(a) - Protection of Property Used by Foreign Governments
         18 U.S.C. § 2 - Aiding and Abetting
           The application is based on these facts:
         see attached Affidavit
                Continued on the attached sheet.
                Delayed notice of       days (give exact ending date if more than 30 days:                                    ) is   requested under
                18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                         Applicant’s signature

                                                                               SA, STEVE LETTENEY, ATF, Badge # 5464
                                                                                                        Printed name and title

 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                       telephone                       (specify reliable electronic means).


 Date:            06/14/2022
                                                                                                          Judge’s signature

 City and state: Washington, D.C.                                                  Zia M. Faruqui, United States Magistrate Judge
                                                                                                        Printed name and title
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AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                 District
                                                          __________      of Maryland
                                                                      District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 22-SW-179
      BENJAMIN GABRINSKI, also known as "Benjamin                           )
                   Grabinski," W/M,                                         )
            DOB: 6/29/1990, PDID: 756-908                                   )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of            Columbia
(identify the person or describe the property to be searched and give its location):
  BENJAMIN GABRINSKI, also known as "Benjamin Grabinski," White/Male, DOB: 6/29/1990, PDID: 756-908, who is presently
  at. D.C. Jail




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  a saliva sample from the defendant's mouth.




          YOU ARE COMMANDED to execute this warrant on or before           June 28, 2022         (not to exceed 14 days)
      ✔ in the daytime 6:00 a.m. to 10:00 p.m.
      u                                  u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                          Zia M. Faruqui                     .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:          06/14/2022 12:00 am
                                                                                                          Judge’s signature

City and state:            Washington, D.C.                                           Zia M. Faruqui, United States Magistrate Judge
                                                                                                        Printed name and title
                           Case 1:22-sw-00179-ZMF Document 1 Filed 06/14/22 Page 3 of 11
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 22-SW-179
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                  UNITED STATES DISTRICT
                                 COURT FOR THE DISTRICT OF
                                        COLUMBIA

 IN THE MATTER OF THE                                 :
 APPLICATION OF THE UNITED                            :    22-SW-179
 STATES OF AMERICA FOR A                              :
 SEARCH WARRANT FOR THE CHEEK                         :
 CELLS/SALIVA (BUCCAL SWAB) OF                        :
 BENJAMIN GABRINSKI, also known as                    :
 “Benjamin Grabinski”., DOB 06/29/1990,               :
 PDID 756-908



                 AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH
                                    WARRANT

            I, Steven Letteney, being duly sworn, hereby depose, and state as follows:

                                          INTRODUCTION


       1.        I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF). I have been employed in this position since October 2014. Prior to my

employment with ATF, I was a Special Agent with the U.S. Department of State, Diplomatic

Security Service, for approximately five years. I am presently assigned to Falls Church Group I

of the Washington Field Division of the ATF. This group runs the Washington, D.C. Arson and

Explosives Task Force, which is responsible for investigating Arson and Explosives incidents in

Washington, D.C., and Northern Virginia. Additionally, I am assigned to the Federal Bureau of

Investigation’s (FBI) Washington Field Office, Joint Terrorism Task Force (JTTF). The JTTF is

responsible for investigating acts and allegations of terrorism in Washington, D.C., and Northern

Virginia.

       2.        I have received training and experience in many types of investigations and

investigative techniques to include, but not limited to: interviewing and interrogation techniques,

surveillance techniques, arrest procedures, search and seizure, and asset forfeiture. I have specific

and extensive additional training and experience with explosives and explosive investigations. I
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    have received specific training and experience in the protection of both foreign and domestic

    diplomats and diplomatic facilities and the response to/investigation of attacks on the same. I have

    been involved in a wide variety of investigations to include: firearms, explosives, tobacco, gang,

    organized crime, money laundering, drug and terrorism investigations.

           3.      Through my employment as a Special Agent, I have gained knowledge in the use

of various investigative techniques including the utilization of physical surveillance, undercover

agents, confidential informants and cooperating witnesses, investigative interviews, analyzing

telephone pen register and historical cell site data, execution of search and arrest warrants, and DNA

analysis. I am also familiar with the fact that each person has a unique DNA composition. DNA

isolated from blood, hair, skin cells, or other genetic evidence left at the scene of a crime or left on

evidence of a crime can be compared with the DNA of an individual to identify an individual as a

potential suspect.1

           4.      The facts and information contained in this affidavit are based upon my training

and experience, participation in investigations, personal knowledge and observations during the

course of this investigation, as well as the observations of other agents and police officers involved

in this investigation. All observations not personally made by me were relayed to me by the

individuals who made them or are based on my review of records, documents, and other physical

evidence obtained during the course of this investigation. Because this affidavit is being submitted

for the limited purpose of securing a criminal complaint, I have not included each and every fact

known to me concerning this investigation. I have set forth only the facts which I believe are

necessary to establish probable cause for the issuance of this warrant.

           5.      On the basis of this familiarity, and on the basis of other information which I



1
 As the Supreme Court has recognized, a “buccal swab” is a “common procedure” that involves
“wiping a small piece of filter paper or a cotton swab similar to a Q-tip against the inside cheek of
an individual’s mouth to collect some skin cells.” Maryland v. King, 133 S. Ct. 1958, 1967-68.
This procedure is “quick and painless” and poses “no threat to the health or safety” of a defendant.
Id. at 1968.
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have reviewed and determined to be reliable, I allege the facts to show there is probable cause to

believe that evidence of the offenses of Protection of Property Occupied by Foreign Governments,

in violation of 18 U.S.C. § 970; Arson, in violation of 18 U.S.C. § 844(i); Use of Explosive in

Violation of U.S. Law, in violation of 18 U.S.C. § 844(h); Destructive Device used in a Crime of

Violence, in violation of 18 U.S.C. § 924(c)(1)(C)(ii); Possession of an Unregistered Firearm, in

violation of 26 U.S.C. § 5861(d); and Unlawful Manufacture of a Firearm, in violation of 26 U.S.C.

§ 5851(f) (collectively, the “TARGET OFFENSES”), will be found located in the cheek cells/saliva

(buccal swab2) of BENJAMIN GABRINSKI, DOB 06/29/1990, PDID 756-908.

                                    THE INVESTIGATION

       6.      On May 29th, 2022, at approximately 1:48 A.M., the Foreign Missions Branch

Control Center (FMBCC) of the United States Secret Service was notified by the Dispatch Center

for I.C.S. Protective Services, that a Special Police Officer (hereinafter referred to as SPO-1) was

being “harassed continuously” while sitting a fixed security post in front of the Embassy of the

People’s Republic of China, located at 3505 International Place NW, Washington, D.C.

(hereinafter referred to as the Embassy). The Dispatch Center further advised that the suspect in

question was described as a white male, 6’04” to 6’05” in height, wearing a blue shirt, blue jeans

and a black backpack, and that he appeared to throw objects towards the Embassy. At 1:48 A.M.,

the FMBCC also dispatched United States Secret Service (USSS) officers to assist at the Embassy,

part of USSS duty.

       7.      At 1:53 A.M., officers arrived on scene, met with SPO-1, who advised the suspect

was no longer on the scene. SPO-1 further advised that the suspect in question threw what was

possibly a rock in the direction of the Embassy and stated to him “Next time, it’s going to be a

firebomb!”

       8.      At 1:55 A.M., a USSS Officer (hereinafter referred to as Officer-1) was subsequently
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flagged down by an individual matching the description of the suspect on the southwest corner of

Connecticut Avenue and Van Ness Street NW. Officer-1 initiated a stop on the suspect, who was a

white male, approximately 6’00” in height with short brown hair, a black short sleeve shirt and blue

jeans, wearing a black backpack. Officer-1 identified this suspect via his state of Illinois

Identification Card and a U.S. Department of Veteran Affairs card as Benjamin J. GRABINSKI

(herein, GRABINSKI). During the stop, GRABINSKI stated to Officer-1 that he traveled from

Chicago to Washington, D.C. to show his discontent for the Chinese Government, and that he threw

a “small rock” at the Embassy of the People’s Republic of China. A photograph of GRABINSKI

was taken and shown to SPO-1. SPO-1 positively identified the suspect photographed as the same

individual that threw an object toward the Embassy and made the statement “Next time, it’s going

to be a firebomb!”

       9.      On June 9, 2022, at approximately 7:08 A.M., a special police officer (hereinafter

referred to as SPO-2) was working in the vicinity of the Embassy of the People’s Republic of

China located at 3505 International Drive Northwest, Washington, D.C.1 SPO-2 witnessed an

individual walk up to the Embassy holding a glass bottle with a black cloth extending from its neck.

This individual, described as a white male wearing black clothing, then attempted to light the black

cloth with a lighter, but failed to light the fabric. This individual then threw the bottle over the

vehicular gate into the Embassy causing the glass to shatter upon impact.
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               Photographic still shots of the incident
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      10.      SPO-2 relayed this information to a uniformed United States Secret Service (USSS)

Officer (Officer-2) in the vicinity, who then passed the individual’s description to other officers

via radio.

      11.      Almost immediately, within minutes, another USSS Officer (Officer-3) heard this

description via radio and observed an individual generally matching that description on the

sidewalk at the intersection of Van Ness Street Northwest and Connecticut Avenue Northwest,

Washington, D.C. This intersection is approximately two to three blocks from the Embassy.

Officer-3 detained the individual and requested identification. He was identified as GRABINSKI.

When GRABINSKI was detained, he was carrying a black backpack. He was not wearing black

clothing. Rather, his shirt was dark blue and he was wearing blue jeans.

      12.      While detained by Officer-3, GRABINSKI spontaneously uttered, “I tried to light

it, but it didn’t work, so I just threw it.” GRABINSKI was subsequently placed under arrest by the

USSS.

      13.      A search incident to arrest of GRABINSKI uncovered a blue-colored Bic lighter in

his left pocket. A search of the backpack located on his person contained numerous items, notably

several pairs of black cloth socks matching the type found at the Embassy. Surveillance video

provided to investigators by the Embassy depicted an individual wearing dark colored clothing

and no sleeves, carrying a dark colored backpack approach the Embassy. This individual, as

depicted by surveillance, is consistent with the description of the suspect as well as GRABINSKI

himself. On the video, GABRINSKI is observed throwing an object over the vehicular gate, as

described by SPO-2. SPO-2 later identified GRABINSKI as the person he saw earlier.

      14.      The Embassy allowed USSS officers to enter the property and collect evidence after
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the event. The USSS collected from within the Embassy grounds broken fragments of the bottle

described above, which upon further preliminary examination appears to be a glass beer bottle.

Outside of the Embassy grounds, officers collected the black cloth that was described by SPO-1.

Upon collection, the cloth appears to be black socks. Additionally, a rubber band was collected

near the cloth/sock material.

      15.    Statements obtained from witnesses describe the liquid from the bottle smelling like

gasoline or alcohol. Officers collected the evidence and placed it into a sealed can.

      16.    Initial observations of the bottle, its fragments, and the evidence is consistent with

the materials needed to create what is informally known as a firebomb or Molotov cocktail. These

items would be formally identified as an improvised incendiary bomb. At this time, the ATF is

conducting an analysis of the evidence to make a formal determination as to whether the device

was in fact a destructive device.

      17.    BENJAMIN GABRINSKI does not have an identical twin known to the affiant.

As such, the government is seeking this search warrant to obtain a known DNA sample from

GABRINSKI for a comparison analysis with swabs that have been and will obtained from

evidence recovered during the course of this investigation.

      18.    BENJAMIN GABRINSKI is currently detained pending his detention hearing.

Accordingly, the buccal swab can be taken when GABRINSKI appears for his detention hearing

on June 17, 2022.

      19.    The physical evidence referenced in paragraph 14 is currently stored with the

Bureau of Alcohol, Tobacco, Firearms, and Explosives. The buccal swab obtained from

GABRINSKI, pursuant to this warrant, would be compared to interpretable/usable DNA profile(s)

found on the physical evidence. A match between, inclusion of, or exclusion of GABRINSKI’s
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DNA and DNA on the evidence would make a fact of consequence (e.g., the identity of the

perpetrator) more or less probable.

                                      CONCLUSION

       20.   Based upon these facts, there is probable cause to believe that there is evidence

of Protection of Property Occupied by Foreign Governments, in violation of 18 U.S.C. § 970;

Arson, in violation of 18 U.S.C. § 844(i); Use of Explosive in Violation of U.S. Law, in violation

of 18 U.S.C. § 844(h); Destructive Device used in a Crime of Violence, in violation of 18 U.S.C.

§ 924(c)(1)(C)(ii); Possession of an Unregistered Firearm, in violation of 26 U.S.C. § 5861(d);

and Unlawful Manufacture of a Firearm, in violation of 26 U.S.C. § 5851(f) that will be found in

the cheek cells/saliva (buccal swab) of BENJAMIN GABRINSKI, DOB 06/29/1990, PDID 756-

908.

                                             _______________________________
                                             STEVEN LETTENEY, SPECIAL AGENT
                                             BUREAU OF ALCOHOL, TOBACCO, FIREARMS
                                             AND EXPLOSIVES

Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on June 14, 2022.


                                             _______________________________
                                             ZIA M. FARUQUI
                                             U.S. MAGISTRATE JUDGE
